          Case 1:08-cr-00224-LJO-DLB Document 758 Filed 10/03/11 Page 1 of 2


1    JOHN BALAZS, Bar #157287
     Attorney At Law
2    916 2nd Street, Suite F
     Sacramento, California 95814
3    Telephone: (916) 447-9299
     John@Balazslaw.com
4
     Attorney For Defendant
5    GARY ERMOIAN
6
7
8                          IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                  )   No. CR-F 08-224-LJO
12                                              )
                        Plaintiff,              )
13                                              )
           v.                                   )   STIPULATION AND ORDER TO
14                                              )   UNSEAL TRANSCRIPTS
                                                )
15   GARY ERMOIAN, and STEPHEN                  )
     JOHNSON,                                   )
16                                              )   Hon. Lawrence J. O’Neill
                                                )
17                  Defendants.                 )
     _______________________________
18
           Defendant Gary Ermoian, through counsel, defendant Stephen Johnson, through
19
     counsel, and the United States, through its counsel, hereby stipulate and request that the
20
     Court unseal the transcripts of the following court hearings to the extent necessary to
21
     permit defense counsel to obtain and review the transcripts under the conditions set forth
22
     below:
23
           (1) 1/19/2010 evidentiary hearing;
24
           (2) 2/3/2010 in-camera telephonic conference; and
25
           (3) 3/23/2010 hearing re confidential documents.
26
27         This stipulation and proposed order is to permit defense counsel to review the
28   transcripts for purposes of appeal. The court reporter may provide a copy of the
           Case 1:08-cr-00224-LJO-DLB Document 758 Filed 10/03/11 Page 2 of 2


1    transcripts of these three hearings to defense counsel. Defense counsel stipulate and agree
2    not to disseminate these transcripts or the information contained therein to any person,
3    except for their staff to assist in the defendants’ effective representation, until further order
4    of this court or the Ninth Circuit Court of Appeals.
5                                                   Respectfully submitted,
6          Dated: September 29, 2011
7
8                                                   /s/ John Balazs
                                                    John Balazs
9
                                                    Attorney for Defendant
10                                                  Gary Ermoian
11         Dated: September 29, 2011
12                                                  /s/ Jerald Brainin
                                                    Jerald Brainin
13
                                                    Attorney for Defendant
14                                                  Stephen Johnson
15
                                                    BENJAMIN B. WAGNER
16                                                  U.S. Attorney
           Dated: September 29, 2011
17
18                                            By:   /s/ Mark E. Cullers
                                                    MARK E. CULLERS
19                                                  Assistant U.S. Attorney
20
21                                               ORDER
22                                       IT IS SO ORDERED.
23          Dated:     September 30, 2011      /s/ Lawrence J. O'Neill
                           b9ed48UNITED STATES DISTRICT JUDGE
24
25
26
27
28


                                                     2
